                     Case 1:06-cr-00203-AWI Document 174 Filed 11/22/10 Page 1 of 3
AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
             BRYAN KEITH JONES
                      (Defendant’s Name)                                  Criminal Number: 1:06CR00203-004


                                                                          HARRY DRANDELL
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] adm itted guilt to violation of charge(s) 1,2,3,4 as alleged in the violation petition filed on .
[]  was found in violation of condition(s) of supervision as to charge(s)       after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Number                     Nature of Violation                                     Date Violation Occurred
See next page.




The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on November 24, 2008 .

       The defendant is sentenced as provided in pages 2 through 3 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[]       Charge(s)        is/are dism issed.


         Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                                              11/15/2010
                                                                                    Date of Im position of Sentence


                                                                                        /s/ ANTHONY W . ISHII
                                                                                      Signature of Judicial Officer


                                                                          ANTHONY W . ISHII, United States District Judge
                                                                                Nam e & Title of Judicial Officer


                                                                                                 11/22/2010
                                                                                                    Date
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AO 245D-CAED (Rev. 3/04) Judgment in a Criminal Case for Revocation Sheet I
CASE NUMBER:                1:06CR00203-004                                                      Judgment - Page 2 of 3
DEFENDANT:                  BRYAN KEITH JONES

                                                       ADDITIONAL VIOLATION
                                                                                Date Violation
Violation Number                     Nature of Violation                        Concluded

One                                  Failure to follow instructions of the
                                     Probation Officer                          04/27/2009

Two                                  Failure to Notify of Change in Residence   05/20/2009

Three                                Failure to Subm it Monthly Report Form s   04/2009

Four                                 Failure to Participate in Drug Testing     05/14/2009
                    Case 1:06-cr-00203-AWI Document 174 Filed 11/22/10 Page 3 of 3
AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:              1:06CR00203-004                                                                  Judgment - Page 3 of 3
DEFENDANT:                BRYAN KEITH JONES



                                                        IMPRISONMENT
         The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
total term of 8 m onths .

Sentence is to run consecutive to the defendants state sentence.




[U]      The court m akes the following recom m endations to the Bureau of Prisons:
         The Court recom m ends that the defendant be incarcerated in a California facility, but only insofar as this accords
         with security classification and space availability. TAFT OR ATW ATER CALIFORNIA


[U]      The defendant is rem anded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL



                                                                                        By
                                                                                                  Deputy U.S. Marshal
